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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DR. CLYDE PEMBERTON, et al.,

                                  Plaintiffs
                                                                    18 Civ. 7908
                   - against -
                                                                      ORDER
CITY OF NEW YORK, et al.,

                                  Defendants.

LORNA G. SCHOFIELD, United States District Judge:

       WHEREAS, a telephonic pre-motion conference was held on June 4, 2020. It is hereby

       ORDERED that Defendants shall, by June 18, 2020, file a memorandum of law that is

no greater than ten pages, double-spaced. The memorandum shall address whether the

consequential damages at issue in this matter are recoverable as a matter of law. Plaintiff Dr.

Clyde Pemberton shall, by July 2, 2020, file a memorandum of law in opposition that is no

greater than ten pages, double-spaced. Defendants shall file a reply by July 9, 2020, that is no

greater than six pages, double-spaced. It is further

       ORDERED that Plaintiff Pemberton shall file a letter by June 11, 2020, stating whether

he intends to withdraw the excessive force claim.



Dated: June 4, 2020
       New York, New York
